Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 1 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 2 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 3 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 4 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 5 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 6 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 7 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 8 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 9 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 10 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 11 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 12 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 13 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 14 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 15 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 16 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 17 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 18 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 19 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 20 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 21 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 22 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 23 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 24 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 25 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 26 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 27 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 28 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 29 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 30 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 31 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 32 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 33 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 34 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 35 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 36 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 37 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 38 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 39 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 40 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 41 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 42 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 43 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 44 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 45 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 46 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 47 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 48 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 49 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 50 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 51 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 52 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 53 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 54 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 55 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 56 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 57 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 58 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 59 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 60 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 61 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 62 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 63 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 64 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 65 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 66 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 67 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 68 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 69 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 70 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 71 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 72 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 73 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 74 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 75 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 76 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 77 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 78 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 79 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 80 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 81 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 82 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 83 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 84 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 85 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 86 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 87 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 88 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 89 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 90 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 91 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 92 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 93 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 94 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 95 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 96 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 97 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 98 of 106
Case 9:20-bk-10544-RC   Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 99 of 106
Case 9:20-bk-10544-RC    Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 100 of 106
Case 9:20-bk-10544-RC    Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 101 of 106
Case 9:20-bk-10544-RC    Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 102 of 106
Case 9:20-bk-10544-RC    Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 103 of 106
Case 9:20-bk-10544-RC    Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 104 of 106
Case 9:20-bk-10544-RC    Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 105 of 106
Case 9:20-bk-10544-RC    Doc 66 Filed 09/21/20 Entered 09/21/20 12:01:05   Desc
                        Main Document    Page 106 of 106
